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                    UNITED STATES of AMERICA
        EASTERN DISTRICT OF MICHIGAN -- SOUTHERN DIVISION

MICHAEL MALEY,

       Plaintiff,                              DEMAND FOR JURY TRIAL

-vs-                                           Case No.
                                               Hon.

SPECIALIZED LOAN SERVICING LLC, and
E*TRADE BANK,

       Defendants.

                        COMPLAINT & JURY DEMAND

                                     Jurisdiction

1.     This action is brought under the Federal Real Estate Settlement Procedures Act

       (“R.E.S.P.A.”), 12 U.S.C. §2605, and this court has jurisdiction pursuant to

       and 28 U.S.C. §§ 1331, 1337; this court, as such, may exercise supplemental

       jurisdiction over the related state law claims arising out of the same nucleus of

       operative facts which give rise to the Federal law claims under 28 U.S.C. §

       1367.

2.     This court has federal question jurisdiction under the Fair Debt Collection

       Practices Act, 15 U.S.C. §1692k(d) and 28 U.S.C. §§1331, 1337.




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3.   This Court has jurisdiction under 15 U.S.C. §1691e and 28 U.S.C. §§1331,

     1332(d), and 1337.

4.   This Court may take supplemental jurisdiction over the state law claims set

     forth in this pleading.

                                     Parties

5.   The Plaintiff to this lawsuit resides in Rochester Hills, Michigan in Oakland

     County.

6.   The Defendant, SPECIALIZED LOAN SERVICING LLC, is a non-Michigan

     corporation doing business in Michigan, incorporated outside the state of

     Michigan and with its principal place of business outside the State of

     Michigan.

7.   The Defendant, E*TRADE BANK, is a non-Michigan entity doing business

     in Michigan, headquartered outside the state of Michigan and with its principal

     place of business outside the State of Michigan.

8.   At all times relevant, SPECIALIZED LOAN SERVICING LLC is the agent for

     the Defendant, E*TRADE BANK and at all times E*TRADE BANK is liable

     for all of the acts and omissions of SPECIALIZED LOAN SERVICING LLC.




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                                       Venue

9.    The transactions and occurrences which give rise to this action occurred in

      Oakland County and in the City of Rochester Hills.

10.   Venue is proper in the United States District Court for the Eastern District of

      Michigan.

                               General Allegations

11.   On or about August 5, 2004, Plaintiff entered into a second mortgage and note

      with Quicken Loans for $100,000 and allowed a subordinate lien to be placed

      on his principal dwelling (“the mortgage”).

12.   Quicken Loans sold the mortgage and note to E*TRADE BANK.

13.   In late 2014, Plaintiff experienced a financial shortfall and was unable to make

      the monthly payments to E*TRADE BANK on the mortgage, which were

      approximately $400.00.

14.   After the mortgage was in default, E*TRADE BANK hired SPECIALIZED

      LOAN SERVICING LLC to collect on the mortgage.

15.   At all times relevant, SPECIALIZED LOAN SERVICING LLC is a debt

      collector as that term is defined in the Fair Debt Collection Practices Act.




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16.   On or about February 19, 2015, Defendants modified the terms of the mortgage

      in writing; specifically, on that date the unpaid principal balance was

      $103,620.00 and interest rate was 0%. The monthly payment was $1.00.

17.   In the statement sent to Plaintiff on or about February 19, 2015, Plaintiff owed

      I owed $6.00, $1.00 for the 6 months starting in September of 2014.

18.   Plaintiff did not make the payment timely.

19.   On or about March 5, 2015, Defendants sent the Plaintiff a statement which

      stated that he owed a payment of $7.00 which he paid.

20.   On or about April 2, 2015, Defendants sent the Plaintiff a statement which

      stated that he owed a payment of $2.00 which he paid.

21.   On or about May 4, 2015, Defendants sent the Plaintiff a statement which

      stated that he owed a payment of $3.00 which he paid.

22.   Plaintiff continued to receive statements from Defendants each month until

      April 18, 2016 with the monthly payment going up by $1.00 each month.

23.   Plaintiff contacted Defendants and was unable to get an explanation for what

      was going on with his payments.

24.   The last statement Plaintiff received from Defendants was dated April 18, 2016

      and stated that the unpaid principal balance was $103,479.58.




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25.   On May 31, 2016, according to Defendants’ records, the unpaid principal

      balance on the mortgage was $103,449.58.

26.   Plaintiff contacted Defendants and was unable to get an explanation for why

      Defendants stopped sending him monthly statements.

27.   In October of 2016, Plaintiff contacted Defendants to work out a settlement on

      the mortgage; Defendants explained that if Plaintiff agreed to a fixed monthly

      payment of $200.00, then Defendants would keep the interest rate at 0.00%.

28.   Defendants agreed to a structured settlement of the mortgage whereby the

      Plaintiff would pay $200.00 per month at 0.00% interest; Defendnats stated

      that they would send the paperwork for Plaintiff to sign.

29.   Defendants resumed monthly statements on or about December 8, 2016,

      unilaterally raising his interest rate to 5.25% and stating that he owed a past

      due balance of $9,823.44.

30.   On or about December 13, 2016, the Defendants sent the Plaintiff a written

      structured settlement letter (“12-13-16 letter”) stating falsely that the unpaid

      principal balance on the mortgage was $112,974.87.

31.   Plaintiff did not agree to the false statement of the inflated unpaid principal

      balance of $112,974.87 and did not agree to the structured settlement under

      those terms.

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32.   On or about April 21, 2017, Plaintiff contacted the Defendants in writing

      disputing the Defendants’ false representation that the unpaid principal balance

      was $112,974.87.

33.   On or about May 5, 2017, the Defendants responded to Plaintiff’s dispute with

      the false assertion that the unpaid principal balance which went from

      $103,449.58 on March 31, 2016 to $112,974.87 on December 12, 2016 had

      accrued $9,525.29 in interest and administrative fees.

34.   On or about May 16, 2017, Plaintiff asked in writing that the Defendants

      provide him an explanation of the $9,525.29 upcharge and provide

      documentation to support these charges, specifically statements from the

      Defendants for the months of May through November of 2016 – which

      Plaintiff never received – which would presumably show where the $9,525.29

      in billings came from.

35.   On or about May 25, 2017, the Defendants responded in writing to the

      Plaintiff’s May 16, 2017 letter and represented:

      a.    That due to a “system error” it had no statements for the months of May

            through November of 2016;




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      b.     That the unpaid principal balance on that date was $103,449.58; and

      c.     That the previous billing statements Defendants sent to the Plaintiff

             were not in error.

36.   Plaintiff continued to send the Defendants correspondence seeking an

      explanation as to how the mortgage had accrued almost $10,000.00 in charges

      between May of 2016 and December of 2016; at no point were the Defendants

      able to explain this to the Plaintiff.

37.   At some point prior to August 18, 2017, Defendants claimed that an error with

      his mortgage caused the accrual of the upcharge between May of 2016 and

      December of 2016.

38.   On or about August 18, 2017, Plaintiff sent a written request to the Defendants

      seeking an explanation of what the error was which caused his loan to accrue

      almost $10,000.00 in charges between May of 2016 and December of 2016.

39.   Defendants did not respond to the August 18, 2017 letter.

40.   On or about October 6, 2017, the Plaintiff again sent a written dispute to the

      Defendants requesting that Defendants explain how his loan accrued almost

      $10,000.00 in charges between May of 2016 and December of 2016; this letter

      was a qualified written request as that term is defined in 12 U.S.C. §2605 et

      seq.

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41.   On or about November 1, 2017, the Defendants responded in writing to the

      Plaintiff’s October 6, 2017 qualified written request, but specifically did not

      address why his loan accrued almost $10,000.00 in charges between May of

      2016 and December of 2016.

42.   On or about November 13, 2017, Plaintiff sent a written request to the

      Defendants again seeking an explanation of what caused his loan to accrue

      almost $10,000.00 in charges between May of 2016 and December of 2016;

      this letter was a qualified written request as that term is defined in 12 U.S.C.

      §2605 et seq. Defendants received this qualified written request on November

      17, 2017.

43.   On or about March 15, 2018, 118 business days later, the Defendants

      responded in writing to the Plaintiff’s November 13, 2017 qualified written

      request, but specifically did not address why his loan accrued almost

      $10,000.00 in charges between May of 2016 and December of 2016, but

      falsely represented that “pursuant to the settlement” the unpaid principle

      balance would have increased to $112,974.87; no such settlement was ever

      agreed to by the Plaintiff. Defendants did not explain where that amount came

      from other than to state that Defendants capitalize the past due balance.

      However, this explanation did not comport with the invoices which the

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      Defendants sent to Plaintiff through April of 2016 showing that his interest rate

      was 0.00%.

44.   Prior to April 28, 2018, Plaintiff received a telephone call from the Defendants

      asking if he wished to settle the mortgage; Plaintiff asked the Defendants’

      representative how his loan could have accrued almost $10,000.00 in charges

      between May of 2016 and December of 2016; Plaintiff was then told verbally

      that the 0.00% must have changed at some point.

45.   On or about April 28, 2018, Plaintiff sent another written request to the

      Defendants again seeking an explanation of when and why, contrary to all of

      the documentation he had received from the Defendants his interest rate had

      changed from 0.00%; this letter was a qualified written request as that term is

      defined in 12 U.S.C. §2605 et seq. Defendants received this qualified written

      request on November 17, 2017.

46.   On or about May 18, 2018, the Defendants responded in writing to the

      Plaintiff’s April 18, 2018 qualified written request, stating that they set his

      interest rate at 0.00% in February of 2015 but then changed the interest rate to

      a higher rate on December 8, 2016 and retroactively and illegally added

      interest to his mortgage. Defendants did not explain how that amount was

      calculated and went on to state that the interest rate described in the Plaintiff’s

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      most recent qualified written request was not in error.

47.   Had Plaintiff known that he was paying interest since February of 2016 instead

      of 0.00% as represented by the Defendants or if he had known that interest

      would be retroactively added to his loan, he would have paid higher payments

      per month at 0.00% and his balance today would be approximately $95,000.00

      instead of the approximately $122,500.00 which Defendants now say he owes.

48.   Despite its receipt of the qualified written requests listed herein, Defendant

      SPECIALIZED LOAN SERVICING LLC refused to lawfully and properly

      respond to these qualified written requests.

49.   SPECIALIZED LOAN SERVICING LLC failed to conduct the necessary

      investigation into the disputes tendered by Plaintiff in violation of RESPA,

      and, as such, SPECIALIZED LOAN SERVICING LLC continued with its

      collection against Plaintiff and subjected Plaintiff to additional illegal charges

      and fees which the Plaintiff would otherwise not have had to pay.

                COUNT I – R.E.S.P.A. 12 U.S.C. § 2601 et seq.

                  (SPECIALIZED LOAN SERVICING LLC)

50.   Plaintiff incorporates the preceding allegations by reference.

51.   R.E.S.P.A. applies to federally regulated mortgage loans, which include

      subordinate liens and loans used to payoff an existing loan secured by the

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      same property;

52.   The transactions described herein involve a federally regulated mortgage

      loan.

53.   SPECIALIZED LOAN SERVICING LLC willfully violated the R.E.S.P.A. in

      one or more of the following ways, by example only and without limitation:

      a.      By failing to make appropriate corrections in the account of the Plaintiff

              and failing to transmit written notification of such correction to the

              Plaintiff(12 U.S.C. §2605(e)(2)(A));

      b.      By failing to provide the Plaintiff with a written explanation or

              clarification that includes a statement of the reasons that SPECIALIZED

              LOAN SERVICING LLC believed the account of the Plaintiff to be

              correct and the name and telephone number of an individual employed

              by Defendant who could provide assistance to the Plaintiff(12 U.S.C.

              §2605(e)(2)(B));

      c.      By failing to provide the Plaintiff with a written explanation or

              clarification that included the information requested by the Plaintiff or

              an explanation of why the information requested was unavailable or

              could not be obtained by SPECIALIZED LOAN SERVICING LLC and

              the name and telephone number of an individual who could provide

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             assistance to the Plaintiff (12 U.S.C. §2605(e)(2)[c]; and

      d.     By providing, upon information and belief, information regarding any

             overdue payment owed by the Plaintiff and relating to the period

             described in the qualified written request to a consumer reporting

             agency during the 60 day period which began on the date of

             SPECIALIZED LOAN SERVICING LLC's receipt of the qualified

             written request (12 U.S.C. § 2605(e)(3).

54.   As a result of these violations, the Plaintiff suffered damages of an economic

      and non-economic nature.

                    COUNT II – BREACH OF CONTRACT

                                 (DEFENDANTS)

55.   Plaintiff incorporates the preceding allegations by reference.

56.   Defendants and the Plaintiff had an agreement evidenced in writing whereby

      the Plaintiff would pay the amounts set forth in the invoices sent to the

      Plaintiff.

57.   Defendants breached that agreement by retroactively adding charges and

      interest to the Plaintiff’s loan account.

58.   Plaintiff suffered actual damages and is threatened with additional harm from

      Defendant’s breach.

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               COUNT III – FRAUD/MISREPRESENTATION

                  (SPECIALIZED LOAN SERVICING LLC)

59.   Plaintiff incorporates the preceding allegations by reference.

60.   At all times relevant hereto, Defendants represented to Plaintiff that:

      a.    His interest rate was 0.00% from February of 2016 through December

            of 2016;

      b.    His unpaid principal balance was $103,449.58.

61.   The foregoing representations were false.

62.   Defendants made the aforesaid representations knowing the same to be false,

      or with reckless disregard as to whether they were true or false.

63.   Plaintiff relied on these misrepresentations and suffered damages as a result of

      such reliance.

64.   Defendants benefitted from the detrimental reliance of the Plaintiff upon

      Defendant’s misrepresentations.

65.   As a direct and proximate result of Defendants’ fraud and/or misrepresentation,

      Plaintiff has suffered the damages set forth above, as well as mental distress,

      anxiety, humiliation and embarrassment.

                       COUNT IV – UNJUST ENRICHMENT

                                   (Defendants)

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66.   Plaintiff incorporates the preceding allegations by reference.

67.   The actions of Defendants were intentionally designed to make interest and

      other costs accrue.

68.   Defendants knew or should have known that the monthly statements

      Defendants sent to Plaintiff were not accurate and if Plaintiff made the

      payments set forth in those statements that the Defendants would accrue

      additional costs and fees to which they were not justly entitled.

69.   The monthly statements Defendants sent to Plaintiff were not accurate and

      Plaintiff did make the payments set forth in those statements and the

      Defendants did accrue additional costs and fees to which they were not justly

      entitled.

70.   Defendants were unjustly enriched as set forth herein and Plaintiff sufferred

      damages as a result.

                    COUNT V – MISREPRESENTATION

                                   (Defendants)

71.   Plaintiff incorporates the preceding allegations by reference.

72.   Defendants made false representations of material facts as set forth herein.

73.   As a result, Plaintiff has suffered significant financial losses as a direct and

      proximate result of Defendants’ misrepresentations.

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           COUNT VI – VIOLATION OF M.C.L § 445.901 et seq.

                                   (Defendants)

74.   Plaintiff incorporates the preceding allegations by reference.

75.   The facts set forth in this complaint establish that Defendants violated one or

      more of the provisions of the Michigan Consumer Protection Act, M.C.L.§

      445.903(1).

76.   Plaintiff has suffered damages as a result of these violations of the Michigan

      Consumer Protection Act.

              COUNT VII – Fair Debt Collection Practices Act

                    (SPECIALIZED LOAN SERVICING LLC)

77.   Plaintiff incorporates the preceding allegations by reference.

78.   At all relevant times SPECIALIZED LOAN SERVICING LLC – in the

      ordinary course of its business – regularly engaged in the practice of collecting

      debts on behalf of other individuals or entities.

79.   SPECIALIZED LOAN SERVICING LLC is a "debt collector" under the Fair

      Debt Collection Practices Act ("FDCPA"), 15 U.S.C. §1692a(6).

80.   SPECIALIZED LOAN SERVICING LLC's foregoing acts in attempting to

      collect this alleged debt against Plaintiff constitute violations of the FDCPA.

81.   Plaintiff has suffered damages as a result of these violations of the FDCPA.

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                 COUNT VIII – Michigan Occupational Code

                  (SPECIALIZED LOAN SERVICING LLC)

82.   Plaintiff incorporates the preceding allegations by reference.

83.   SPECIALIZED LOAN SERVICING LLC is a "collection agency" as that term

      is defined in the Michigan Occupational Code ("MOC"), M.C.L. § 339.901(b).

84.   SPECIALIZED LOAN SERVICING LLC's foregoing acts in attempting to

      collect this alleged debt against Plaintiff constitute violations of the

      Occupational Code.

85.   Plaintiff has suffered damages as a result of these violations of the Michigan

      Occupational Code.

                              Demand for Jury Trial

86.   Plaintiff demands trial by jury in this action.

                        Demand For Judgment for Relief

      ACCORDINGLY, Plaintiff requests that this Court:

      a.    Grant Plaintiff all legal title to the subject property;

      b.    Award Plaintiff all damages incurred by Plaintiff as a result of

            SPECIALIZED LOAN SERVICING LLC's actions herein;

      c.    Award Plaintiff costs and attorney's fees;

      d.    Award any other relief that this Court deems just and equitable;

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      e.    Award exemplary damages;

      f.    Award costs and attorney fees.

                                    Respectfully Submitted,

                                    ADAM G. TAUB & ASSOCIATES
                                    CONSUMER LAW GROUP, PLC

                                    By:      s/ Adam G. Taub
                                             Adam G. Taub (P48703)
                                             Attorney for MICHAEL MALEY
                                             17200 West 10 Mile Rd. Suite 200
                                             Southfield, MI 48075
                                             Phone: (248) 746-3790
                                             Email: adamgtaub@clgplc.net

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